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    UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT


        Everett McKinley Dirksen
                                                                               Office of the Clerk
        United States Courthouse
                                                                              Phone: (312) 435-5850
     Room 2722 - 219 S. Dearborn Street
                                                                              www.ca7.uscourts.gov
          Chicago, Illinois 60604




                                                    FINAL JUDGMENT
June 3, 2022

                                                       Before
                                      MICHAEL B. BRENNAN, Circuit Judge
                                      MICHAEL Y. SCUDDER, Circuit Judge
                                      AMY J. ST. EVE, Circuit Judge

                                     ABC DIAMONDS INCORPORATED, Individually and on behalf
                                     of all others similarly situated,
                                     Plaintiff - Appellant

No. 22-1026
                                     v.

                                     HARTFORD CASUALTY INSURANCE COMPANY,
                                     Defendant - Appellee
Originating Case Information:
District Court No: 1:20-cv-07097
Northern District of Illinois, Eastern Division
District Judge Gary Feinerman


The judgment of the District Court is AFFIRMED, with costs, in accordance with the decision of
this court entered on this date.




                                                                     Clerk of Court

form name: c7_FinalJudgment        (form ID: 132)
